                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN


 COALITION TO MARCH ON THE RNC,



                                        Plaintiff,

 v.                                                     Civil Action No:_______________

 CITY OF MILWAUKEE, CAVALIER
 JOHNSON in his official capacity as Mayor of
 the City of Milwaukee, and JERREL
 KRUSCHKE in his official capacity as
 Commissioner of Public Works for the City of
 Milwaukee,



                                        Defendants.

             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


       Plaintiff, Coalition to March on the RNC, by and through its attorneys, brings this

Complaint against the above-named Defendants, their employees, agents, and successors in

office, and in support thereof states the following:

                                        INTRODUCTION


       1.       The nominating convention of one of our country’s two major political parties

presents an unparalleled opportunity for individuals and organizations to participate in the

democratic process through the exercise of their rights of free speech and assembly. The July

2024 Republican National Convention (“RNC” or “Convention”) will draw thousands of

delegates, as well as the Republican Party’s major campaign contributors, lobbyists, and

members of the media. It will thus provide an opportunity for individuals to voice their opinions



            Case 2:24-cv-00704-BHL Filed 06/06/24 Page 1 of 19 Document 7
directly to the leaders and decision-makers of the Republican Party, to national and international

media, and to people across the country and around the world who will watch Convention

coverage.

       2.       This opportunity to express one’s views and be heard must be guaranteed not only

for    the Convention attendees within the security barriers and walls of the Fiserv Forum, but

also for those who seek to have their banners seen and their voices heard in the streets of

Milwaukee.

       3.       Over a year ago, the Coalition to March on the RNC (the “Coalition”) notified the

City of Milwaukee (the “City” or “Milwaukee”) that it planned to organize a protest parade

outside of the RNC, and proposed a specific route past the Convention venues. The Coalition

successfully organized and conducted a parade around the same venues in August 2023 at the

time of the first Republican candidates’ debate.

       4.       Despite having ample time to prepare, now less than six weeks before the RNC

begins on July 15, the City is still unable or unwilling to tell the Coalition if it accepts the parade

route proposed by the Coalition, and, if not, where the City will permit the Coalition to

march. The City has been unable or unwilling to tell the Coalition when the City will permit a

march and how long the march may last.

       5.       For the RNC, the City passed a “Special Event Ordinance” (“Event Ordinance”)

that (1) creates a ninety-square-block “Security Footprint” around convention venues; (2)

requires anyone wanting to demonstrate in a parade in that Security Footprint to apply for a

special permit and march only on a designated “Official Parade Route” during a seven-hour

window each day; and (3) threatens fines to anyone who parades anywhere else. This is in




            Case 2:24-cv-00704-BHL Filed 06/06/24 Page 2 of 19 Document 7
contrast to the regular permitting process that has no such uniform limitations. 1 The Convention

begins in a little over one month and the City has not disclosed the Official Parade Route and,

consequently, the public spaces where it plans to prohibit First Amendment activity.

         6.       The ordinance gives City officials the discretion to finally designate the parade

route only days or weeks before the RNC, which deprives the Coalition the right to seek

meaningful judicial review of the parade route designation and the time limits placed on its

march.

         7.       The City also plans to pass an ordinance limiting items that may be carried in a

parade or elsewhere in the security footprint, but, again, has not done so in a timely manner,

which frustrates the Coalition’s ability to plan and organize a parade so that the Coalition, and

others, may effectively enjoy their First Amendment rights. This purposeful delay also frustrates

the Coalition’s ability to seek meaningful judicial review of the ordinance.

         8.       The Coalition brings this suit to vindicate its rights to engage in First Amendment

expression activity in the traditional public forum of the streets in a manner where it can be seen

and heard by attendees of the Convention.


                                   JURISDICTION AND VENUE

         9.       Plaintiff brings this action under 42 U.S.C. § 1983 in order to vindicate its rights

protected by the First and Fourteenth Amendments to the United States Constitution. This Court

has jurisdiction over this civil rights action pursuant to 28 U.S.C. § 1331(a) and § 1343(a)(3) and

(4).




1
  See City of Milwaukee Ord. 105-55.5 available at
https://city.milwaukee.gov/ImageLibrary/Groups/cityDPW/divisions/administrative/docs/special
events/SpecialEventOrdinance.pdf


              Case 2:24-cv-00704-BHL Filed 06/06/24 Page 3 of 19 Document 7
       10.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 2201 and 2202 to declare the

rights of the parties and to grant all further relief found necessary and proper.

       11.     Venue in this Court is appropriate under 28 U.S.C. § 1391(b) because Defendants

reside in, and all transactions and occurrences giving rise to this matter arose in the Eastern

District of Wisconsin.

                                          THE PARTIES

    A. Plaintiff

       12.     The Plaintiff in this case is the Coalition to March on the RNC, an unincorporated

association of individuals from a broad range of local, national, grassroots, community, and labor

organizations who have come together in order to hold a protest parade and march during the

RNC. As of the date of this complaint, six dozen organizations, expressing a wide variety of

concerns, have joined the Coalition. A list of the subscribing organizations is in Exhibit 6.

    B. Defendants

       13.     The Defendants in this case are the City of Milwaukee, Mr. Cavalier Johnson (in

his official capacity as the mayor of Milwaukee), and Mr. Jerrell Kruschke (in his official

capacity as the Commissioner of Public Works for the city of Milwaukee).


                                  FACTUAL ALLEGATIONS

       14.     On August 5, 2022, the national Republican party announced that it would hold

the Republican National Convention (“RNC” or the “Convention”) in Milwaukee during the

week of July 15, 2024.2 The nominating convention of one of our country’s two major political




2
 https://www.gop.com/press-release/rnc-announces-milwaukee-as-host-city-for-2024-
convention/.


          Case 2:24-cv-00704-BHL Filed 06/06/24 Page 4 of 19 Document 7
parties presents a significant opportunity for individuals and organizations to participate in the

democratic process through the exercise of their rights of free speech and assembly.

       15.      The RNC will host more than 2,400 delegates, and will draw the party’s major

campaign contributors, lobbyists, and thousands of credentialed members of the media. In total,

the City estimates 50,000 persons will be arriving in Milwaukee for the Convention. The

Convention thus provides an opportunity for groups and individuals to voice their opinions

directly to the leaders and decision-makers of the Republican Party, to national and international

media, and to people across the country and around the world who will watch Convention

coverage.

       16.      The City of Milwaukee has been planning for this Convention since 2022, and has

experience after hosting the national political convention for the Democratic Party which took

place in the City in 2020.

       17.      The Coalition plans to hold the protest parade at noon on Monday, July 15, 2024,

the first day of the Convention, within sight and sound of the Convention venues. The Coalition

plans to stop for a period along the parade route to permit speakers to deliver speeches to

attendees, and to use amplified sound equipment to do so.

       18.      Predecessor organizations to the Coalition have organized demonstration marches

around prior national political conventions in different parts of the United States. Coalitions to

march on Republican national conventions organized protest parades in the 2008, 2012, and

2016 election years.

   A. The Coalition’s First, Second, and Third Parade Applications

       19.      On April 12, 2023 the Coalition filed an online application for a parade permit

pursuant to Milwaukee’s general event ordinance [Ord. 105-55.5, supra at n.1] for a



            Case 2:24-cv-00704-BHL Filed 06/06/24 Page 5 of 19 Document 7
demonstration parade to take place on the first day of the RNC. (the “4/12/2023 Application”).

This general event ordinance permits members of the public to propose their own events and

parade routes, subject to approval by the council member in whose district the event takes place,

requires approval or denial within no more than 10 business days, and includes an appeal process

either to common counsel or to the courts. Id.

        20.     The Coalition’s 4/12/2023 Application proposed a route through several blocks of

downtown Milwaukee, passing in the vicinity of Fiserv Forum where much of the convention

activity will take place.




                                                 Exhibit 1




          Case 2:24-cv-00704-BHL Filed 06/06/24 Page 6 of 19 Document 7
       21.     The Coalition’s proposed parade route assures that marchers can be seen and

heard by RNC attendees by using 6th Street and Juneau Avenue, which border the various

convention venues, including Fiserv Forum.

       22.     The City responded on the same day the application was submitted and stated that

permit applications for special events may not be filed more than six months in advance of the

event in question. The City did not comment on the substance of the Coalition’s first application

or provide any feedback on whether it viewed the Coalition’s proposed parade route and

demonstration as a violation of any City ordinance.

       23.        Despite this denial, the Coalition persisted. On September 21, 2023, the

Coalition filed a second parade permit application (the “9/21/2023 Application”). This

application substantively made the same requests as the Coalition’s 4/12/2023 Application.

Defendants did not respond to or acknowledge the 9/21/2023 Application in any way.

       24.     On January 18, 2024—within six months of the Convention’s start date—the

Coalition filed a third parade permit application (the “1/18/2024 Application”). This application

substantively made the same requests as the Coalition’s previous two applications.

Defendants did not respond to the 1/18/2024 Application.

       25.        The Coalition continued to announce in public events, to the press and in

social media, that it would be marching in July 2024 at the RNC.

   B. Milwaukee’s Special Event Ordinance

       26.     On March 19, 2024, the City of Milwaukee adopted a Special Event Ordinance

“relating to the extraordinary event of the Republican National Convention.” [Milw. Common

Council File No. 231740] (“the Event Ordinance”). The Event Ordinance establishes regulations

and permitting requirements for the use of streets and public spaces in the City of Milwaukee

during the week of the RNC. A copy of the Event Ordinance is attached as Exhibit 2.



         Case 2:24-cv-00704-BHL Filed 06/06/24 Page 7 of 19 Document 7
       27.     The Preamble to the Event Ordinance contains a recognition of the right of

persons to assemble peacefully and express themselves, including in the areas near to the

Convention venues:

       Whereas, Persons and groups have a First Amendment right to organize and
       participate in peaceful assemblies and parades on sidewalks and rights-of-way
       and in the parks within the city, and to engage in peaceful assemblies and parades
       near the Convention so they may be seen and heard, subject to reasonable,
       content-neutral time, place, and manner restrictions designed to protect public
       safety, persons, and property; and

       Whereas, It is expected that crowds of interested persons will stand or walk upon
       the streets to protest or demonstrate in the security footprint, but that law
       enforcement may need to order persons to remove themselves from the streets or
       sidewalks to allow for unimpeded vehicular traffic and access to buildings….

       28.     The defined terms under the Event Ordinance relevant to this matter include:

       “Credentialed zone” means the area in the security footprint to which access is
       restricted by the United States Secret Service and the Milwaukee Police
       Department to authorized and credentialed persons consistent with the National
       Special Security Event designation pursuant to 18 U.S.C. §3056(e)(1)….

        “Official parade route” means a route within the preliminary security footprint
       as close as reasonably practicable to sight and sound distance from the entrance
       of the convention facilities as determined by the appropriate City officials in
       consultation with the United States Secret Service. The appropriate City officials
       may select alternative routes as necessary to accommodate crowds, and to ensure
       public safety and free movement of pedestrian and vehicular traffic.

        “Official speaker’s platform” means the speakers’ area designated by the City in
       a designated county park or parks or in an alternative location designated by the
       appropriate City officials.

       “Parade” means any formation, march, or procession of any kind traveling in
       unison for a common purpose upon the streets, excluding sidewalks, within the
       city that interferes with the normal flow or regulation of vehicular or pedestrian
       traffic upon the streets within the city….

       “Preliminary security footprint” is the area designated by the general impact map
       attached to Common Council File Number 231740….




         Case 2:24-cv-00704-BHL Filed 06/06/24 Page 8 of 19 Document 7
       “Security footprint” means the area designated by the United States Secret
       Service as requiring limited pedestrian or vehicle access associated with the
       convention.

       29.       Section 4 of the Event Ordinance sets out a permitting scheme for use of an

Official Parade Route and provides:

       Official Parade Route and Speaker’s Platform Registration.
       a. Requirement. No person shall interfere with, engage in or conduct a
       parade on the official parade route without first becoming registered as
       provided in this ordinance. No person shall use an official speaker’s
       platform without first registering to do so as provided in this ordinance….

       Time Restrictions Applicable to Official Parade Route Registrations.
       Parades within the preliminary security perimeter may take place only
       during designated parade time slots from Monday, July 15, 2024 through
       Thursday, July 18, 2024, between the hours of 12:00 p.m. and 7:00 p.m.
       along an officially defined parade route.

       30.       The Event Ordinance regulates any other standing or walking within the security

footprint:

       Streets Reserved for Vehicular Traffic; Exceptions. a. A person or group of
       pedestrians may stand, loiter or travel upon the streets in the security
       footprint only if their presence does not interfere with vehicular traffic,
       consistent with s. 101-1-2 of the Code of Ordinances, which adopts s.
       346.29(2), Wis. Stats.

       Law enforcement and public works officials may request persons to leave
       the streets and remain upon sidewalks to allow vehicular traffic associated
       with convention invitees and guests, delegate buses, or emergency,
       governmental, utility, residential or commercial vehicles to proceed
       unimpeded through the security footprint.

       Other Parades and Special Events. Because of the potential for large crowds
       and for convention-related vehicular traffic, including buses and other
       livery, anticipated in the security footprint during the convention period, the
       City of Milwaukee cannot accommodate parades or other special events on
       city streets inside the preliminary security footprint, other than those
       permitted for the official parade route and official speaker’s platform.




             Case 2:24-cv-00704-BHL Filed 06/06/24 Page 9 of 19 Document 7
       31.     The City released a map, referred to as the “preliminary security footprint ” (a/k/a

the “Security Footprint”). The Security Footprint is a ninety-square-block area in downtown

Milwaukee, bounded by Cherry Street to the north and Clybourn Street to the south, and from

9th Street on the west to Water Street on the East. See Exhibit 3. Within the Security Footprint,

vehicular traffic will be limited during the RNC and other regulations will limit what items

persons entering the zone may have in their possession.




                                             Exhibit 3




         Case 2:24-cv-00704-BHL Filed 06/06/24 Page 10 of 19 Document 7
        32.     Within the Security Footprint there is also a higher security “Credentialed Zone”

which, on information and belief, will be secured by tall steel fencing, and where only persons

holding official credentials will be allowed to enter after passing through security checkpoints.

The dimensions and location of this Credentialed Zone have not been identified by City officials

as of this filing   .

        33.     Violations of the Event Ordinance are subject to a fine of up to $500 and

imprisonment if not paid. Event Ordinance, 1.f.

        34.     Section 12 of the Event Ordinance prohibits granting parade permits during the

RNC other than through the process established by this ordinance.

        35.     The Ordinance provides for two “Effective Dates:” (1) effective immediately, the

City may accept applications to use the Official Parade Route and Speaker’s Platform; and (2)

“[a]ll other regulations shall be in effect during the convention period.” Event Ordinance, 1.d.

        36.     The City stated that it will announce a single Official Parade Route, located

somewhere within the Security Footprint. All other parades, which can include as few as two

persons walking in unison in the street, are prohibited on all other streets within the Security

Footprint during the RNC.

        37.     The City also stated that there will be only one Official Speaker’s Platform with

sound equipment provided and controlled by the City. Pedestrians will be allowed to circulate

within the soft zone, but vehicular traffic will be limited to Convention-related traffic.

        38.     As of this filing, the City has not provided notice to the Coalition or any other

interested party where the Official Parade Route or Speaker’s Platform location will be.




          Case 2:24-cv-00704-BHL Filed 06/06/24 Page 11 of 19 Document 7
   C. The Coalition’s Fourth Parade Application

       39.     On April 17, 2024, the Coalition filed a new parade permit application using the

online portal created by the City of Milwaukee to hold a parade on Monday, July 15, 2024 on the

first day of the convention which the City acknowledged on April 24, 2024. See Ex. 7.

       40.     In an email to the Milwaukee City Attorney’s office on the day the application

was made, the Coalition noted the absence of any official parade route, and reserved its right to

march on a route within sight and sound of entrances to Convention venues. The Coalition also

objected to the manner for allocating speaker platform slots and reserved the right to hold rallies

inside or outside of the security footprint.

       41.     Indeed, in all of its public statements and planning, the Coalition has stressed that

its demonstration must be able to be seen and heard by persons attending the Convention. Those

attendees, along with the persons seeing media coverage of the event, are the intended audience

for the public protest which will be expressed in various ways by the seventy or more

organizations and thousands of marchers who make up the Coalition.

   D. Safety and Security for the 2024 Convention

       42.     In 2020, groups making up part of the current Coalition demonstrated in

Milwaukee when the City was hosting the Democratic National Convention. They marched and

demonstrated on the streets of Milwaukee under the name “Coalition to March on the DNC” on

August 20, 2020 in an event which was peaceful and resulted in no arrests or acts of violence.

       43.     The Coalition also arranged a protest march on Milwaukee streets during the first

Republican presidential debate in August 2023. The debate was held at the Fiserv Forum in

Milwaukee, the same site where the primary convention activities of the RNC will be held.

Seven thousand people attended the debate. Hundreds of marchers paraded safely and peacefully




         Case 2:24-cv-00704-BHL Filed 06/06/24 Page 12 of 19 Document 7
next to and in the area around Fiserv Forum without incident while the debate was being held,

and all without the need for the type of “special” permitting process that has been adopted for the

Convention.

       44.     The City and the United States Secret Service, among other law enforcement

agencies, will have overwhelming resources to ensure peaceful activities. In addition to regular

Milwaukee police officers, some 4500 officers from outside of Milwaukee are projected to arrive

to provide additional security.3 Congress designated $75 million for the City of Milwaukee to

cover its costs on security measures.

       45.     The City stated on its website that “RNC events are being planned primarily by

the non-partisan MKE Host Committee and the Republican National Committee. The MKE Host

Committee is a nonprofit organization whose mission is described on their website. RNC

security is overseen by the United States Secret Service, the Milwaukee Police Department, the

Milwaukee Fire Department, the Milwaukee County Sheriff’s Office, and various local, state,

and federal law enforcement partners. Other City of Milwaukee functions, including permits,

demonstration opportunities and planning logistics are being planned by City of Milwaukee

employees.”4




3
  https://www.jsonline.com/story/news/politics/2023/04/13/milwaukee-rnc-could-include-as-
many-as-4500-outside-police-officers/70081387007/
4
  https://city.milwaukee.gov/RNC/FAQ


         Case 2:24-cv-00704-BHL Filed 06/06/24 Page 13 of 19 Document 7
         46.    Alison Prange, the Chief Operating Officer of the Milwaukee 2024 Host

Committee, stated, “It’s crucial to emphasize that the Convention security zone will be among

the safest places globally. Therefore, individuals should feel confident and unhesitant about

participating in the event!” 5

         47.    The RNC has been designated as a National Special Security Event pursuant to

18 U.S.C. §3056(e)(1), as have previous presidential nominating conventions. When an event

receives this designation, the United States Secret Service becomes the lead federal agency in

developing, exercising, and implementing security plans for that event.

         48.    Despite the lack of any official designation of a parade route, or the speaker’s

platform, or how many blocks are covered by the credentialed zone, the Republican Party

sponsor of the convention has signaled its desire that the City take steps to prevent persons who

may be demonstrating, like the Coalition, from coming in proximity to Convention attendees.

         49.    In a letter dated April 26, 2024, Exhibit 4, counsel for the Republican National

Committee wrote the director of the Secret Service, urging an expanded security zone to move

protesters farther away. Among other things, counsel wrote that current City proposals which

might permit a speaker’s platform in Pere Marquette Park within the soft zone were

unacceptable:

         This will force thousands of peaceful attendees and demonstrators, who may
         otherwise choose to avoid or limit direct, proximate engagement with one another,
         to be in extremely close, consistent, and unavoidable proximity. As recent college
         and university campus clashes make plain, forced proximity heightens tensions
         among peaceful attendees and demonstrators of differing ideologies and increases
         the risk of escalation to verbal, or even physical, clashes and corresponding law
         enforcement intervention.




5
    https://www.wisconsinrightnow.com/republican-national-convention


           Case 2:24-cv-00704-BHL Filed 06/06/24 Page 14 of 19 Document 7
       50.     The City is further trampling First Amendment rights by delaying the processing

of applications for permits required to engage in First Amendment activities during the

Convention. The Coalition’s application under the Event Ordinance has not yet been

approved.

       51.     The City has not released the Official Parade Route, so the Coalition and its

member organizations do not know whether the City will accede to the wishes of the political

party holding the Convention and keep them as far away as possible from RNC venues.

       52.     The City’s continuing refusal to approve or deny these applications and to identify

the parade route leaves the organizers of these activities in limbo. As the Convention rapidly

approaches, the City’s delay makes it increasingly likely that applicants like the Coalition that

are planning marches or rallies involving as many as thousands of participants will lack

sufficient time to complete critical logistical arrangements. The City’s inaction is a constructive

denial of the permits    and a prior restraint of this First Amendment activity.

       53.     While not confirmed, City representatives have indicated the location of the

Official Speaker’s Platform will likely be Pere Marquette Park, along the Milwaukee River and

two blocks southeast of Fiserv Forum. 6 There is no location within Pere Marquette Park where

Fiserv Forum can be seen. The closest point to Fiserv Forum is the northwest corner of Pere

Marquette Park, and as Exhibit 5 shows, there is no line of sight to the arena. Likewise, no one

standing in front of the arena in the area known as the “Deer District” can see persons in Pere

Marquette Park.




6
 https://www.jsonline.com/story/news/politics/elections/2024/05/14/secret-service-appears-
unlikely-to-alter-rnc-protest-area-in-milwaukee/73603295007/


         Case 2:24-cv-00704-BHL Filed 06/06/24 Page 15 of 19 Document 7
        54.     On May 30, 2024, counsel for the Coalition wrote to the Defendants setting out

again the Coalition’s original proposed parade route, and identifying locations within sight and

sound of Fiserv Forum which would enable persons protesting to speak and be heard by

Convention attendees. The letter again insisted that the City act promptly on approving the

Coalition’s application to march on its proposed route or a closely similar route.

        55.     With time rapidly running out before the start of the RNC, the Coalition has filed

this suit to protect its First Amendment rights of assembly and expression during the Convention.

                                      CAUSES OF ACTION


                                             COUNT I

                                       42 U.S.C. § 1983
                 Failure to Grant the Coalition’s Permit Applications Violates
              The Coalition’s Rights Under the First and Fourteenth Amendments

        56.     The allegations set forth above are re-alleged and incorporated by reference as if

fully set forth in this paragraph.

        57.     The proposed parade route that the Coalition proposed to the City is part of and

along a traditional public forum.

        58.     Defendants denied the Coalition’s first permit application for reasons not

supported by evidence and not narrowly tailored to serve a significant government interest.

        59.     Defendants’ failure to respond to the Coalition’s 9/21/2023, 1/18/2024, and

4/17/2024 Applications amounts to constructive denial of these Applications. This failure to

grant the Coalition’s parade permit applications is not supported by the evidence and not

narrowly tailored to serve a compelling government interest.




         Case 2:24-cv-00704-BHL Filed 06/06/24 Page 16 of 19 Document 7
        60.     By failing to grant any of the Coalition’s parade applications, Defendants have

effectively foreclosed the Coalition’s opportunity to engage in protected First Amendment

activity within sight and sound of the Convention venues.

        61.     Defendants’ actions have put the choice on the Coalition of forgoing the

opportunity to march in view of the Republican delegates or risk citation, arrest, or conviction.

        62.     Defendants’ failure to grant any of the Coalition’s applications violated and

continues to violate the Coalition’s right to the freedom of speech and assembly under the First

Amendment as incorporated by the Fourteenth Amendment.


                                               COUNT II

                                     42 U.S.C. § 1983
                 The Special Event Ordinance Is Unconstitutional on Its Face
                       Under the First and Fourteenth Amendments

        63.     The allegations set forth above are re-alleged and incorporated by reference as if

fully set forth in this paragraph.

        64.     The Special Event Ordinance limits the time, place, and manner of protected First

Amendment activity and is a prior restraint.

        65.     These limitations are (1) not narrowly tailored to any significant governmental

interest, (2) do not leave open ample alternative channels for expression, and (3) provide

unlimited discretion for City officials to grant, deny, or simply not respond to any individual or

group seeking to apply for a parade permit application.

        66.     On its face and as applied to the Coalition, the Special Event Ordinance violates

the First Amendment as incorporated by the Fourteenth Amendment.




         Case 2:24-cv-00704-BHL Filed 06/06/24 Page 17 of 19 Document 7
                                              COUNT III

                                     42 U.S.C. § 1983
         Imposing the Restrictions of the RNC Special Event Ordinance Violates
    the Coalition’s Rights Under the Due Process Clause of the Fourteenth Amendment

        67.      The allegations set forth above are re-alleged and incorporated by reference as if

fully set forth in this paragraph.

        68.      The right to movement and liberty are due process rights protected by the United

States Constitution.

        69.      The Event Ordinance does not give the Coalition, its individual members, and

others sufficient notice of what conduct will be deemed prohibited, which is necessary to allow

the Coalition to conform their conduct to the law. Further, the Event Ordinance       permits

arbitrary or discriminatory enforcement of its restrictions    , including providing City officials

with unlimited discretion to grant, deny, or simply refuse to respond to a permit application in

violation of the Coalition’s Due Process rights.

        70.      Additionally, for the reasons stated above, the Event Ordinance is

unconstitutionally vague on its face in violation of the Due Process Clause of the Fourteenth

Amendment.

                                     REQUEST FOR RELIEF

        Plaintiff respectfully requests that this Court grant the following relief:

    A. Declaratory relief, including the following:

              1. A declaration that Defendants unconstitutionally failed to grant the Coalition’s

                 application for a parade permit;




         Case 2:24-cv-00704-BHL Filed 06/06/24 Page 18 of 19 Document 7
             2. A declaration that the Event Ordinance violates the First and Fourteenth

                Amendments to the United States Constitution on its face and as applied to

                Plaintiff;

   B. Preliminary relief against Defendants, including a preliminary injunction that:

       3. Enjoins Defendants from enforcing unconstitutional provisions of the Special Event

             Ordinance as described in this Complaint; and

             4. Orders Defendants to grant the Coalition a parade permit allowing the Coalition to

                assemble and march on July 15, 2024 at a time and along a route that allows them

                to communicate their message to their intended audience of RNC delegates;

   C. A permanent injunction prohibiting Defendants from enforcing unconstitutional

       provisions of the Event Ordinance;

   D. Costs and Expenses, including reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988;

       and

   E. Any other relief this Court deems just and proper.

Dated: June 5, 2024                        Respectfully submitted,


                                          By:_/s R. Timothy Muth_______________

                                          R. TIMOTHY MUTH
                                          Bar No. 1010710
                                          tmuth@aclu-wi.org
                                          RYAN V. COX
                                          Bar No. 24074087
                                          rcox@aclu-wi.org

                                          ACLU OF WISCONSIN FOUNDATION
                                          207 E. Buffalo Street, Suite 325
                                          Milwaukee, WI 53202
                                          Phone: 414-272-4032

                                          Attorneys for the Coalition to March on the RNC



        Case 2:24-cv-00704-BHL Filed 06/06/24 Page 19 of 19 Document 7
